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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL                                         JS-6
 Case No.          CV17-1474-CAS(PLAx)                                            Date   September 26, 2017
 Title             ROSEANNE HANSEN ; ET AL. v. SCRAM OF CALIFORNIA, INC.; ET AL.



 Present: The Honorable            CHRISTINA A. SNYDER, JUDGE
           Catherine M. Jeang                               Not Present                          N/A
                 Deputy Clerk                        Court Reporter / Recorder                 Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                            Not Present
 Proceedings:                 (IN CHAMBERS) - PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT
                              PREJUDICE PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE,
                              RULE 41(a)(1) (Filed 09/24/2017)[66]

      The Court is in receipt of plaintiffs’ Notice of Dismissal[66] filed September 24,
2017. No Proposed Order was submitted. The Court hereby grants plaintiffs’ request to
dismiss the above-entitled action, without prejudice. Each party to bear their own costs
and fees. All dates are hereby vacated and the action is hereby ordered closed.




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                                                               Initials of Preparer            CMJ




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